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FORM nhgnrlp (Rev. 06/15)
                                  UNITED STATES BANKRUPTCY COURT
                                         Northern District of Florida
                                           Panama City Division

In Re: Larry Bruce Thacker                                        Bankruptcy Case No.: 12−50370−KKS
       SSN/ITIN: xxx−xx−8503
        Debtor
                                                                  Chapter: 7
                                                                  Judge: Karen K. Specie


                                        Notice of Non Evidentiary Hearing

    PLEASE TAKE NOTICE that a hearing to consider and act upon the following will be held at U.S. Courthouse,
30 W. Government Street, Panama City, FL, on April 12, 2018, at 10:00 AM, Central Time.

        765 − Joint Motion to Approve Compromise or Settlement filed by Natasha Z. Revell on behalf of
        Carlotta Appleman Thacker, Larry Bruce Thacker, Thacker Family Revocable Living Trust, John E.
        Venn Jr.. (Revell, Natasha)

Dated: February 23, 2018                                  FOR THE COURT
                                                          Traci E. Abrams, Clerk of Court
                                                          110 E. Park Ave., Ste. 100
                                                          Tallahassee, FL 32301


SERVICE: Natasha Revell shall serve this document pursuant to the applicable Rules and file a certificate of service
within three (3) days.
